     Case: 1:21-cv-04783 Document #: 1-3 Filed: 09/09/21 Page 1 of 2 PageID #:30




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

DISPLAY TECHNOLOGIES, LLC,         §
                                   §
    Plaintiff,                     §    Case No:
                                   §
vs.                                §    PATENT CASE
                                   §
OMRON HEALTHCARE, INC.,            §
                                   §
    Defendant.                     §
               _____________________________________                            §
                   PLAINTIFF’S RULE 7.1 STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for Display Technologies, LLC a private non-governmental property, certifies that the

names of all associations, firms, partnerships, corporations, and other artificial entities that either

are related to the plaintiff as a parent, subsidiary, or otherwise, or have a direct or indirect

pecuniary interest in the plaintiff’s outcome in the case are below:


        Patent Asset Management, LLC


Dated: September 8, 2021.                       Respectfully submitted,


                                                /s/April B. Senter
                                                April Senter, #6313947
                                                Senter Legal Services, Ltd.
                                                19624 Governors Hwy
                                                Flossmoor, Illinois 60422
                                                708-586-7505
                                                april@senterlegal.com


                                                ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S RULE 7.1 STATEMENT                                                                   Page | 1
    Case: 1:21-cv-04783 Document #: 1-3 Filed: 09/09/21 Page 2 of 2 PageID #:31




                               CERTIFICATE OF SERVICE

         I hereby certify that on September 8, 2021, I electronically filed the above document(s)
with the Clerk of Court using CM/ECF which will send electronic notification of such filing(s) to
all registered counsel.
                                            /s/April B. Senter
                                            April Senter




PLAINTIFF’S RULE 7.1 STATEMENT                                                           Page | 2
